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                       CERTIFICATE OF SERVICE

     I hereby certify that on March 10, 2005, I served, or caused

to be served, the following documents:

MOTION FOR DOWNWARD DEPARTURE PURSUANT TO GUIDELINE SECTION 5K1.1
AND 18 U.S.C. 3553(E)

     I certify, further, that I electronically filed the above-

listed documents with the Clerk of the Court by using ECF, which

constitutes service on the following ECF participants, pursuant to

the ECF Procedures for the District of Minnesota:

Frederic Bruno, Esq.

     I certify, further, that I served, or caused to be served, the

above-listed documents to non-ECF participants by placing a copy in

a postpaid envelope addressed to the person(s) hereinafter named,

at the place(s) and address(es) stated below, which is/are the last

known address(es), and by depositing said envelope and contents in

the United States Mail at Minneapolis, Minnesota.

Addressee(s):



                                       THOMAS B. HEFFELFINGER
                                       United States Attorney

                                       s/ Tamara A.S. Cuddihy

                                       BY: TAMARA A.S. CUDDIHY
                                       Legal Assistant
